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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

BRANDON CRIDER,                                                §
                                                               §
          Plaintiff,                                           §
                                                               §
v.                                                             §            No. 3:22-CV-2415
                                                               §
EUGENIA FOUST,                                                 §
                                                               §
          Defendant.                                           §


         DEFENDANT’S REPLY CONCERNING MOTION TO DISMISS
        PLAINTIFF’S AMENDED COMPLAINT AND BRIEF IN SUPPORT


TO THE HONORABLE UNITED STATES DISTRICT COURT:

          Now comes Defendant Eugenia Foust, and files this Reply concerning her

Motion to Dismiss under FEDERAL RULES OF CIVIL PROCEDURE 12(b)(1) and

12(b)(6).

          This suit is but the latest in a long and recent series of dubious petitions filed by

this attorney, many of them in forma pauperis, alleging technical violations of the

AMERICANS WITH DISABILITIES ACT. Far from presenting any true claims of

discrimination, these cookie-cutter, drive-by lawsuits have followed a familiar pattern

of demanding unconscionable sums of money from small businesses. 1



1
    Attached as Exhibit A are true and correct copies of the virtually identical $10,000 to $15,500 pre-
    suit demands in these cookie-cutter, drive-by lawsuits. (Of course, the costs of these entrepreneurial
    lawsuits filed in forma pauperis are borne by the taxpayers, even though the attorneys filing these suits
    clearly have the ability to cover court costs.)

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          As this Court is well aware and the Fifth Circuit has affirmed, this kind of

reprehensible entrepreneurial litigation fails for lack of standing. The undersigned

counsel have advocated for years on behalf of individuals with disabilities. See Neff v.

VIA Metro. Transit Auth., 179 F.R.D. 185, 194-95 (W.D. Tex. 1998). However,

entrepreneurial AMERICANS WITH DISABILITIES ACT litigation like this case, filed as

a money-making venture, lacks standing and offends the very premise of the ADA.

          To characterize this case as “alleging a plausible set of facts establishing

jurisdiction” contravenes established Fifth Circuit precedent, is contrary to an opinion 2

from the Northern District of Texas involving these same plaintiff attorneys, and does

violence to the AMERICANS WITH DISABILITIES ACT and the rights of individuals with

disabilities and undermines public support for the ADA.

          Far from presenting any true claims of injury or discrimination, the cookie-

cutter, re-hashed lawsuits filed by this Plaintiff and these attorneys have followed a

familiar pattern of demanding unconscionable sums of money from small businesses. 3

          These virtually identical vexatious lawsuits allege technical violations of the

AMERICANS WITH DISABILITIES ACT (ADA), citing to certain recommendations set



2
    See Segovia v. Admiral Realty, Inc., 3:21-cv-2478-L, at *7 (N.D.Tex. August 4, 2022) (Plaintiff “has
    failed to demonstrate that he has ‘suffered an invasion of a legally protected interest that is concrete
    and particularized and actual or imminent, not conjectural or hypothetical;’ therefore, he lacks
    standing. Laufer, 996 F.3d at 272.”).
3
    Interestingly (and perhaps tellingly), these cookie-cutter cases only require a brief copy-and-paste
    adaptation, an hour at the most. Yet, counsel seeks the same exorbitant amount ($10,000 to $15,500)
    in virtually each case. No conscientious lawyer will bill twice, let alone 60 times, for the same work,
    warmed over.


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forth in the Americans with Disabilities Act Accessibility Guidelines. Each of these lawsuits

focuses on allegations of non-compliance with signage, parking lots, and paths of

travel, such as marked accessible parking, parking signage, and curb cuts, whether or

not such allegations are factual or real. Each of the allegations is of the sort one could

attempt to raise by examining Google Maps or other similar databases whichh include

street level imagery.

       Many of these suits are filed in forma pauperis, forcing taxpayers to fund the

enterprise, even though this is clearly entrepreneurial litigation.

       To date, this Plaintiff has filed at least seven (and Plaintiff’s counsel has filed at

least 60) of these virtually identical cases in the Northern and Western Districts of

Texas. Each of these 60 suits have the same boilerplate recitations such as “residing

within 30 miles,” “purchase general goods and services,” and “intends to revisit the

subject property again in the next six months.” But none of these suits makes any

attempt to specifically state how any of alleged non-compliance prevented access by

the plaintiff, or why the plaintiff requires that specific accommodation.

       The issue is subject matter jurisdiction and “[t]he burden of proof for a Rule

12(b)(1) motion to dismiss is on the party asserting jurisdiction,” and “[a]t the pleading

stage, the ‘burden is to allege a plausible set of facts establishing jurisdiction.’” Laufer

v. Mann Hosp., L.L.C., 996 F.3d 269, 271-72 (5th Cir. 2021), quoting Ramming v. United

States, 281 F.3d 158, 161 (5th Cir. 2001) and Physician Hosps. of Am. v. Sebelius, 691

F.3d 649, 652 (5th Cir. 2012).



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       Examination of “plausible set of facts establishing jurisdiction” must be done in

the context of all 60 virtually identical suits brought by these attorneys in this

entrepreneurial scheme. The boilerplate repetition in these belies any “plausible set of

facts establishing jurisdiction.”

       If a plaintiff’s litigation history may undercut the attempt to prove a

particularized interest, Hunter v. Branch Banking and Tr. Co., 2013 WL 4052411, at *5

(N.D. Tex. Aug. 12, 2013), citing Norkunas v. Wynn Resorts Holdings, LLC, 2007 WL

2949569, at * 4 (D.Nev. Oct.10, 2007) (stating that “a plaintiff’s litigation history can

undercut the sincerity of his or her expressed intent to return”); Brother v. Tiger Partner,

LLC, 331 F.Supp.2d 1368, 1374-75 (M.D.Fla.2004) (similar), then identical statements

appearing in more than 60 cookie-cutter lawsuits brought by the same three attorneys

should substantially belie the sincerity of any attempt to establish jurisdiction.

       Mr. Crider must meet, in detail, three criteria: (1) that he has an injury in fact;

(2) that there is a causal connection between his injury and the conduct complained

of; and (3) that his injury will be redressed by a favorable judicial decision. Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560-61 (1992).

       An injury in fact must be “particularized” and must be “concrete.” Spokeo, Inc.

v. Robins, 578 U.S. 330, 340 (2016). “Particularized” injuries “affect the plaintiff in a

personal and individual way.” Id. (internal quotation marks omitted). Concrete

injuries are “physical, monetary, or cognizable intangible harm[s] traditionally

recognized as providing a basis for a lawsuit in American courts.” TransUnion LLC v.



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Ramirez, 594 U.S. __, __, 141 S.Ct. 2190, 2206, 210 L.Ed.2d 568 (2021); see also

Maddox v. Bank of New York Mellon Tr. Co., N.A., 19 F.4th 58, 63-64 (2d Cir. 2021). “An

uninjured plaintiff who sues seeking to ensure a defendant’s “compliance with

regulatory law” (and, of course, to obtain some money)” lacks Article III standing.

TransUnion LLC, 594 U.S. at ___,141 S.Ct. at 2206.

       The Fifth Circuit has repeatedly held that Aritcle III standing requires that ADA

plaintiffs allege “in detail” how the supposed ADA violation will “negatively affect

their day-to-day lives.” See Deutsch v. Annis Enterprises, Inc., 882 F.3d 169, 174 (5th Cir.

2018); Frame v. City of Arlington, 657 F.3d 215, 235-36 (5th Cir. 2011) (en banc); Deutsch

v. Travis Cty. Shoe Hosp., Inc., 721 F. App'x 336, 341 (5th Cir. 2018).

       Mr. Crider’s generalized boilerplate assertions, vague and deficient in any

factual allegations related to him personally, are insufficient under binding precedent

from the Fifth Circuit.

       I. PLAINTIFF CRIDER DOES NOT HAVE STANDING

       Mr. Crider makes no attempt to explain how any of the asserted technical

violations prevented his use of the public accommodation or resulted in a concrete

personal harm. Mr. Crider does not identify any specific public accommodation he

was prevented from accessing. His response vaguely states that he did not have “full

and equal enjoyment of the…services, facilities…or accommodations of any place of

public accommodation.” Resp. at 2. This is insufficient, and fails, in any way to

demonstrate a particularized injury in fact, sufficient to accord jurisdiction. Laufer v.



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Mann Hosp., L.L.C., 996 F.3d 269, 273 (5th Cir. 2021). Accord Laufer v. Looper, 22 F.4th

871, 877-78 (10th Cir. 2022); Harty v. W. Point Realty, Inc., 28 F.4th 435, 444 (2d Cir.

2022).

          Mere allegations of non-compliance with certain technical administrative

recommendations set forth in the Americans with Disabilities Act Accessibility Guidelines

(ADAAG) does not empower Plaintiff or his attorneys to act as a self-appointed

building inspector. The Fifth Circuit has held that minor deviations from the ADAAG

technical guidelines standing alone do not give rise to a cause of action under the

ADA. See Greer v. Richardson Indep. Sch. Dist., 472 F. App'x 287, 295 (5th Cir. 2012).

While ADAAG technical requirements may be a helpful reference point in evaluating

barriers to access, a court cannot determine that non-compliance with these technical

requirements gives rise to an injury in fact or a violation of the ADA.

          Moreover, even if Mr. Crider alleged a statutory violation of the ADA, as

opposed to non-compliance with certain accessibility guidelines, he would still lack

Article III standing. If the ADA labeled all violations of that act and its implementing

regulations as discrimination — which it does not, see 42 U.S.C. §§ 12112, 12132,

12182 (defining disability discrimination under the ADA), TransUnion makes clear

that a statutory violation, however labeled by Congress, is not sufficient for Article III

standing. TransUnion, 594 U.S. at ___, 141 S.Ct. at 2205. 4


4
    Allegations of improper signage or a non-compliant ramp, for example, which do not comport with
    the guidelines, as provided and without more, are insufficient to survive a motion to dismiss. See
    Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009). To state a claim under
    Title III, the plaintiff must not only allege the existence of an architectural barrier, he must also

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       II. ENTREPRENEURIAL ADA LITIGATION DOES NOT HAVE
           STANDING

       Mr. Crider makes no valid claim of a substantial risk of imminent future injury

. See Crawford v. Hinds County Bd. of Supervisors, 1 F.4th 371, 375 (5th Cir. 2021). The

“some day” intentions of a “tester,” who now claims to want to be a “regular patron,”

are insufficient to grant Article III standing. Strojnik v. Teof Hotel GP, No. 3:19-CV-

01336-E, 2020 WL 5211063, 2020 U.S. Dist. LEXIS 158287 (N.D. Tex. Aug. 31,

2020); Access 4 All, Inc. v. Boardwalk Regency Corp., No. 08-3817, 2010 U.S. Dist. LEXIS

124625, 2010 WL 4860565 (D.N.J. Nov. 23, 2010) (“An ADA plaintiff who seeks an

injunction mandating removal of architectural barriers cannot ‘manufacture standing’

by simply claiming that he intends to return to the defendant's establishment.”).

       The lack of standing is obvious once the 60-plus virtually identical lawsuits all

filed this year by these attorneys are considered. These virtually identical lawsuits

utilizing the same cast of plaintiffs in both the Northern and Western Districts of Texas

are merely vehicles to extort payment. None of these cases demonstrate particularized,

actual, or imminent injury, but merely the obvious repetition of alleged Americans with

Disabilities Act Accessibility Guidelines defects without any detail. “A pleading that offers

‘labels and conclusions’ or ‘a formulaic recitation of the elements’ of a cause of action

will not do.” Ashcroft, 556 U.S. at 678.



 plausibly allege in detail how that barrier affected him personally. Steger v. Franco, Inc., 228 F.3d
 889, 893 (8th Cir. 2000). See also Mosley v. QuikTrip Corp., No. CV-20-01937-PHX-ROS, 2021 U.S.
 Dist. LEXIS 226239, 2021 WL 5493444 (D. Ariz. Nov. 23, 2021).


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         Likewise, the repeated boilerplate description of why removal of the barriers to

access can be readily achieved adds no useful information. It is a plaintiff’s burden in

pleading that removal of architectural barriers is readily achievable. Lopez v. Catalina

Channel Express, Inc., 974 F.3d 1030, 1038 (9th Cir. 2020). Persyn v. Torres, No. SA-11-

CV-0141 FB, 2011 WL 1549203, 2011 U.S. Dist. LEXIS 43828 (W.D. Tex. Apr. 22,

2011).

         III. CONCLUSION

         A “deprivation of a right created by statute must be accompanied by ‘some

concrete interest that is affected by the deprivation’” Laufer, 996 F.3d at 273. “[T]he

public interest that private entities comply with the law” cannot “be converted into an

individual right by a statute that denominates it as such, and that permits all citizens

(or, for that matter, a subclass of citizens who suffer no distinctive concrete harm) to

sue.” TransUnion, 594 U.S. at ___, 141 S.Ct. at 2206.

         These 60 virtually identical cases, with their exorbitant, extortionary, pre-suit

monetary demands, are a crass and clear attempt at a money grab. The boilerplate

repetition without personal detail across these suits demonstrate “an uninjured

plaintiff who sues seeking to ensure a defendant’s “compliance with regulatory law”

(and, of course, to obtain some money)” TransUnion LLC, 594 U.S. at ___,141 S. Ct.

at 2206.




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      These suits lack Article III standing. Id. Mr. Crider has failed to plead either

subject matter jurisdiction or a claim for which relief may be granted and his

Complaint should be dismissed.

      WHEREFORE,           PREMISES,       ARGUMENTS,            and     AUTHORITIES

CONSIDERED, Defendant prasy that Plaintiff’s claims for violation of the

AMERICANS WITH DISABILITIES ACT be dismissed, and that costs and attorneys’ fees

be assessed against the Plaintiff and his counsel.

DATED: December 22, 2022

                                         Respectfully submitted,

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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 22nd day of December 2022, I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

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and I hereby certify that I have mailed by United States Postal Service the document to the
following non-CM/ECF participants:

      NONE.

                                         /s/ Geoffrey N. Courtney______________
                                        GEOFFREY N. COURTNEY




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